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UNITED STATES DISTRICT COURT                                                               12/8/20
SOUTHERN DISTRICT OF NEW YORK


  United States of America,

                 –v–
                                                                   20-CR-330 (AJN)
  Ghislaine Maxwell,
                                                                          ORDER
                        Defendant.


ALISON J. NATHAN, District Judge:

       On December 4, 2020, the Court received a letter from MDC legal counsel responding to

the concerns that the Defendant raised in her November 24, 2020 letter. See Dkt. Nos. 75, 88;

see also Dkt. No. 78. The Defendant responded to the MDC legal counsel’s letter on December

7, 2020, reiterating her request that the Court summon Warden Heriberto Tellez to personally

respond to questions from the Court regarding the Defendant’s conditions of confinement. See

Dkt. No. 91. Having carefully reviewed the parties’ submissions, along with the MDC legal

counsel’s December 4, 2020 letter, the Court DENIES the Defendant’s request to summon the

Warden to personally appear and respond to questions. This resolves Dkt. No. 75.

       Notwithstanding this, as originally provided in Dkt. No. 49, the Government shall

continue to submit written status updates detailing any material changes to the conditions of Ms.

Maxwell’s confinement, with particular emphasis on her access to legal materials, including

legal mail and email, and her ability to communicate with defense counsel. The updates shall

also include information on the frequency of searches of the Defendant.

       The Court hereby ORDERS the Government to submit these written updates every 60

days. Furthermore, the Government shall take all necessary steps to ensure that the Defendant




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continues to receive adequate access to her legal materials and her ability to communicate with

defense counsel.

       SO ORDERED.

Dated: December 8, 2020                             __________________________________
       New York, New York                                   ALISON J. NATHAN
                                                          United States District Judge




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